                                         Originally Filed: May 14, 2018
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                                 )
 GENENTECH, INC., CITY OF HOPE, and              )
 HOFFMANN-LA ROCHE INC.,                         )
                                                 )
                        Plaintiffs,              )
                                                 )
 V.                                              )      C.A. No. 18-095-GMS
                                                 )
 CELLTRION, INC., CELLTRION                      )      REDACTED - PUBLIC VERSION
 HEALTHCARE CO., LTD., TEVA                      )
 PHARMACEUTICALS USA, INC., and                  )
 TEVA PHARMACEUTICALS                            )
 INTERNATIONAL GMBH,

                        Defendants.


                        DECLARATION OF ANDREW J. DANFORD

       I, Andrew J. Danford, declare as follows:

       1.      I am a partner of the law firm Wilmer Cutler Pickering Hale and Dorr LLP,

counsel for Genentech, Inc., City of Hope, and Hoffmann-La Roche Inc. (collectively,

"Plaintiffs") in the above-captioned action. I am a member in good standing of the Bars of the

Commonwealth of Massachusetts and State of New York, and I have applied to appear before

this Court pro hac vice in this matter. I respectfully submit this declaration in support of

Plaintiffs' Answering Brief in Opposition to Defendants' Motion to Dismiss or Stay.

       2.      Attached hereto as Exhibit 1 is a true and correct copy of the Order Granting

Defendants' Motion to Dismiss, ECF No. 81, in Celltrion, Inc. v. Genentech, Inc., No. 4:18-cv-

00274 (N.D. Cal.), dated May 9, 2018, retrieved by members of my firm from CM/ECF.

       3.      Attached hereto as Exhibit 2 is a true and correct copy of a letter from E. Whelan

to R. Cerwinski, re: CT-P6, aBLA No. 761091, dated October 10, 2017, containing Genentech's

list of patents pursuant to 42 U.S.C. § 262(l)(3)(A).


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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 21, 2018, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

May 21, 2018, upon the following at the email addresses indicated below:

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                         EXHIBIT 1
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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    CELLTRION, INC., et al.,                           Case No. 18-cv-00274-JSW

                                   8                     Plaintiffs,

                                   9    v.

                                  10    GENENTECH, INC., et al.,                           Re: Dkt. No. 53

                                  11                     Defendants.

                                  12
Northern District of California
 United States District Court




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                                  14    CELLTRION, INC., et al.,                           Case No. 18-cv-00276-JSW

                                  15                      Plaintiffs,

                                  16    v.                                                 ORDER GRANTING DEFENDANTS’

                                  17    GENENTECH, INC., et al.,                           MOTIONS TO DISMISS

                                  18                      Defendants.

                                  19                                                       Re: Dkt. No. 47

                                  20

                                  21          Now pending before the Court are two motions to dismiss filed by Defendants Genentech,

                                  22   Inc., Hoffman La-Roche, Inc., and City of Hope (“Defendants” or “Genentech”) to dismiss the

                                  23   first amended complaint filed by Plaintiffs Celltrion, Inc., Celltrion Healthcare, Co. Ltd., Teva

                                  24   Pharmaceuticals International GMGH, and Teva Pharmaceuticals USA, Inc. (“Plaintiffs” or

                                  25   “Celltrion”). The Court has considered the parties’ papers, relevant legal authority, and the record

                                  26   in this case, and the Court finds both motions suitable for disposition without oral argument. See

                                  27   N.D. Civ. L.R. 7-1(b). For the reasons set forth below, the Court HEREBY GRANTS

                                  28   Defendants’ motions to dismiss, but will afford Plaintiffs leave to amend.
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                                   1                                             BACKGROUND

                                   2   A.     “Biologic” and “Biosimilar” Drugs.

                                   3          These cases concern a portion of the Biologics Price Competition and Innovation Act of

                                   4   2009 (“BPCIA”). 42 U.S.C. § 262(l). The BPCIA concerns, in part, approval of “biologic” and

                                   5   “biosimilar” drugs by the Food and Drug Administration (“FDA”).

                                   6          “Biologic” drugs (drugs derived from natural biological sources rather than chemically

                                   7   synthesized) may only be sold to consumers following approval and licensure by the FDA.

                                   8   Sandoz Inc. v. Amgen Inc., ___ U.S. ___, 137 S. Ct. 1664, 1669-70 (2017). A biologic licensed by

                                   9   the FDA is known as a “reference product,” and the party who manufactures the reference product

                                  10   is known as the “sponsor” or “reference product sponsor.” Id. at 1670. “Biosimilar” drugs, in

                                  11   essence, are products “highly similar” to biologic products the FDA has already approved. Id. at

                                  12   1669. Under the BPCIA, a party who wishes to manufacture a biosimilar drug may apply to the
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                                  13   FDA and, upon a showing that there are no “clinically meaningful differences” between the

                                  14   biosimilar drug and the biologic drug, may “piggyback” off of the biologic drug’s license and

                                  15   procure FDA approval for the biosimilar drug. Id. at 1670. Applying to the FDA in order to

                                  16   “piggyback” is technically patent infringement. See 35 U.S.C. § 271(e)(2)(C).

                                  17   B.     BPCIA Process for Biosimilar Drugs.

                                  18          Reference products may be covered by multiple patents, and 42 U.S.C. § 262(l) (“Section

                                  19   (l)”) prescribes a detailed mechanism for resolving infringement claims arising between the

                                  20   reference party sponsor and the biosimilar applicant. Sandoz, 137 S. Ct. at 1670. Colloquially,

                                  21   attorneys practicing in this space refer to these steps as the “patent dance.”

                                  22          First, within twenty days of receiving notice that the FDA has accepted its biosimilar

                                  23   application for review, the applicant (here, Celltrion) must send to the reference product sponsor

                                  24   (here, Genentech) (i) the biosimilar application and (ii) information about the processes for

                                  25   manufacturing the biosimilar product (collectively, the “2(A) Disclosure”).

                                  26   42 U.S.C. § 262(l)(2)(A). Sixty days after the reference product sponsor receives the 2(A)

                                  27   Disclosure, it must provide the applicant with a “list of patents” the reference product sponsor

                                  28   believes the biosimilar drug infringes (the “3(A) Disclosure”). Id. § 262(l)(3)(A)(i). The
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                                   1   reference product sponsor must also identify which patents in the 3(A) Disclosure it would be

                                   2   willing to license to the applicant. Id. § 262(l)(3)(A)(ii).

                                   3          Within sixty days of receiving the 3(A) Disclosure, the applicant must send the reference

                                   4   product sponsor its (i) claim-by-claim arguments for noninfringement, invalidity, and/or

                                   5   unenforceability of the patents identified in the 3(A) Disclosure; (ii) a response regarding the

                                   6   reference product sponsor’s willingness to license certain patents; and, if applicable (iii) a

                                   7   statement that the applicant does not intend to begin commercial marketing of the biosimilar

                                   8   before certain patents expire (collectively, the “3(B) Disclosure”). Id. § 262(l)(3)(B). The

                                   9   applicant may also augment the reference product sponsor’s 3(A) Disclosure by identifying

                                  10   additional patents the reference product sponsor could assert against the biosimilar drug.

                                  11   Id. § 262(l)(3)(B)(i). Within sixty days of receiving the 3(B) Disclosure from the applicant, the

                                  12   reference product sponsor must respond, claim-by-claim, to the applicant’s noninfringement,
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                                  13   invalidity, and unenforceability arguments (“3(C) Disclosure”). Id. § 262(l)(3)(C).

                                  14          Following the exchange of the 3(A), (B), and (C) Disclosures, the applicant and the

                                  15   reference product sponsor must engage in “good faith negotiations” to reach an agreement

                                  16   identifying which patents will be the subject of “immediate” patent infringement litigation.

                                  17   Id.§ 262(l)(4)(A), (l)(6). The negotiations kick off the so-called “Phase I” patent litigation.

                                  18   Sandoz, 137 S. Ct. at 1671. Once these negotiations begin, the reference product sponsor and the

                                  19   applicant have fifteen days to reach agreement. 42 U.S.C. § 262(l)(4)(B). If they cannot agree on

                                  20   a list of patents for Phase I “within” that window, the parties must simultaneously exchange lists

                                  21   of patents each believes should be immediately litigated (the “5(B) Lists”). Id. § 262(l)(4)(B),

                                  22   (l)(5)(B)(i), (l)(6). However, before the parties exchange 5(B) Lists, the applicant must identify

                                  23   the number of patents it will identify on its own 5(B) List (the “5(A) Number”).

                                  24   Id. § 262(l)(5)(A). The applicant’s proffered number caps the number of patents the reference

                                  25   product sponsor may include on its 5(B) List.1 Id. § 262(l)(5)(B)(ii). The reference product

                                  26

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                                         In the event the applicant indicates it will identify no patents, the reference product sponsor may
                                  28   always include at least one patent on its 5(B) List.

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                                   1   sponsor then has thirty days after the exchange of the 5(B) Lists to bring patent infringement

                                   2   claims regarding all patents on those lists. Id. § 262(l)(6)(B).2

                                   3           “Phase II” litigation, meant to address patents included on the 3(A)-(C) Disclosures but

                                   4   “not litigated” in “Phase I,” begins when the applicant serves the reference product sponsor a

                                   5   “notice of commercial marketing,” which it must do at least 180 days before marketing the

                                   6   biosimilar. Id. § 262(l)(8)(A); Sandoz, 137 S. Ct. at 1671-72.

                                   7           The parties’ available remedies are contingent upon their compliance with these steps. If

                                   8   an applicant fails to provide its 2(A) Disclosure, it may not bring an action for declaratory

                                   9   judgment for noninfringement, validity, or enforceability of any patent covering the biologic drug.

                                  10   42 U.S.C. § 262(l)(9)(C). If an applicant provides its 2(A) Disclosure, then neither party may

                                  11   bring a declaratory judgment action regarding infringement, validity, or enforceability of a subset

                                  12   of the patents at issue3 before the applicant serves its notice of commercial marketing (the
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                                  13   initiation of Phase II litigation). Id. § 262(l)(9)(A). Finally, if an applicant: (i) fails to serve its

                                  14   3(B) Disclosure4, 5(A) Number, 5(B) List, or notice of commercial marketing; (ii) timely notify

                                  15   the FDA of an ensuing patent lawsuit; or (iii) supplement its 3(B) Disclosure in response to newly

                                  16   issued or licensed patents the reference product sponsor identifies, the applicant may not bring an

                                  17   action for declaratory judgment. Id. § 262(l)(9)(B).

                                  18   C.      Genentech and Celltrion’s BPCIA “Patent Dance.”

                                  19           1.      “Herceptin” and “Herzuma.”

                                  20           Genentech is the reference product sponsor for a biologic called “Herceptin.” See First

                                  21   Amended Complaint, No. 18-cv-000274-JSW (“Herceptin FAC”) ¶ 36. On May 30, 2017,

                                  22

                                  23   2
                                         The reference product sponsor must file for patent infringement for any patent appearing on
                                  24   either its or the applicant’s 5(B) Lists.
                                       3
                                  25    This subset includes patents on the 3(A) or (B) Disclosures, but not encompassed by (i) any
                                       agreement the parties reach regarding patents suitable for “immediate” litigation or (ii) itemized
                                  26   on the 5(B) Lists.
                                       4
                                  27    The only components of the 3(B) Disclosure necessary to avoid Section (l)(9)(B)’s prohibition
                                       are (i) the applicant’s arguments on invalidity, unenforceability, and/or noninfringement and (ii)
                                  28   any statement by the applicant that it does not intend to begin commercial marketing of the
                                       biosimilar before the expiration of certain patents.
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                                   1   pursuant to 42 U.S.C. § 262(k), Celltrion applied for FDA approval to market a biosimilar of

                                   2   Herceptin called “Herzuma.” Id. ¶¶ 5, 37. The FDA notified Celltrion on July 28, 2017 that its

                                   3   application had been accepted for review. Id. On August 11, 2017, well within the statutory

                                   4   deadline, Celltrion sent its 2(A) Disclosure to Genentech.5 Id. ¶¶ 5, 15, 39;

                                   5   42 U.S.C. § 262(l)(2)(A).

                                   6             On October 10, 2017, Genentech provided Celltrion with its 3(A) Disclosure, listing 40

                                   7   patents it believed Herzuma would infringe, and, on November 7, 2017, Celltrion responded with

                                   8   its 3(B) Disclosure. Herceptin FAC ¶¶ 5, 15, 41, 42; 42 U.S.C. § 262(l)(3)(A), (B). On January 5,

                                   9   2018, Genentech timely sent its 3(C) Disclosure to Celltrion. Herceptin FAC ¶¶ 5, 15, 46;

                                  10   42 U.S.C. § 262(l)(3(C). Simultaneously, Genentech, evidently intending to begin the statutorily

                                  11   mandated “good faith negotiations,” proposed the parties agree to litigate a discrete number (fewer

                                  12   than all)6 of the patents under discussion. Herceptin FAC ¶ 48; 42 U.S.C. § 262(l)(4)(A).
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                                  13   Celltrion responded by stating that it wished to litigate a larger number of patents than

                                  14   Genentech’s opening offer: namely, all patents listed on the 3(A) Disclosure.

                                  15   Herceptin FAC ¶ 49; 42 U.S.C. § 262(l)(4)(A).

                                  16             Celltrion then served a notice of commercial marketing on Genentech.

                                  17   Herceptin FAC ¶¶ 6, 16, 49; 42 U.S.C. § 262(l)(8)(A). Celltrion did not provide Genentech with

                                  18   the 5(A) Number or engage in simultaneous exchange of 5(B) Lists with Genentech. See

                                  19   generally Herceptin FAC; 42 U.S.C. § 262(l)(5). Celltrion filed a declaratory judgment lawsuit

                                  20   regarding these patents (the “Herceptin Lawsuit” or “Herceptin Complaint”) on January 11, 2018.

                                  21   Dkt. 1.

                                  22             2.     “Rituxan” and “Truxima.”

                                  23             Genentech is also the reference product sponsor for a biologic called “Rituxan.” See First

                                  24

                                  25   5
                                        The Court is aware that Genentech contests the sufficiency of Celltrion’s 2(A) Disclosures for
                                  26   both biosimilars. Celltrion alleges, in each complaint, it served complete 2(A) Disclosures. As
                                       explained below, the Court’s analysis is properly limited to the allegations in the complaint. The
                                  27   Court therefore declines to address the sufficiency of Celltrion’s 2(A) Disclosures at this time.
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                                  28       The specific information regarding Genentech’s proposal is the subject of a motion to seal.

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                                   1   Amended Complaint, No. 18-cv-000276-JSW (“Rituxan FAC”) ¶ 41. On April 28, 2017, pursuant

                                   2   to 42 U.S.C. § 262(k), Celltrion applied for FDA approval to market a biosimilar of Rituxan called

                                   3   “Truxima.” Id. ¶¶ 6, 42. The FDA notified Celltrion on June 27, 2017 that its application had

                                   4   been accepted for review. Id. On July 17, 2017, Celltrion sent its 2(A) Disclosure regarding

                                   5   Truxima to Genentech. Id. ¶¶ 6, 44; 42 U.S.C. § 262(l)(2)(A).

                                   6           On September 14, 2017, Genentech provided Celltrion with its 3(A) Disclosure for

                                   7   Rituxan, listing 40 patents it believed Celltrion’s biosimilar would infringe, and, on November 7,

                                   8   2017, Celltrion responded in kind with its 3(B) Disclosure. Rituxan FAC ¶¶ 5, 46, 47;

                                   9   42 U.S.C. § 262(l)(3)(A), (B). On January 5, 2018, Genentech timely sent its 3(C) Disclosure to

                                  10   Celltrion. Rituxan FAC ¶¶ 6, 51; 42 U.S.C. § 262(l)(3(C). On January 11, 2018, evidently as part

                                  11   of Section (l)4’s “good faith negotiations,” Celltrion indicated it wished to litigate all forty patents

                                  12   on Genentech’s 3(A) Disclosure. Rituxan FAC ¶ 53; 42 U.S.C. § 262(l)(4)(A). Celltrion then
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                                  13   served a notice of commercial marketing on Genentech. Rituxan FAC ¶¶ 7, 54;

                                  14   42 U.S.C. § 262(l)(8)(A). Celltrion did not provide Genentech with the 5(A) Number or engage in

                                  15   simultaneous exchange of 5(B) Lists with Genentech. See generally Rituxan FAC;

                                  16   42 U.S.C. § 262(l)(5). Celltrion filed a declaratory judgment lawsuit regarding these patents (the

                                  17   “Rituxan Lawsuit” or “Rituxan Complaint”) on January 11, 2018. Dkt.1.

                                  18                                                 ANALYSIS

                                  19   A.      Applicable Legal Standard.

                                  20           In its motions to dismiss, Genentech seeks to dismiss both the Herceptin and Rituxan

                                  21   Lawsuits for lack of subject matter jurisdiction or, in the alternative, for failure to state a claim.

                                  22   The Court finds that Genentech’s motions are both properly construed as motions to dismiss for

                                  23   failure to state a claim under Federal Rule of Civil Procedure 12(b)(6).

                                  24           Federal courts have subject matter jurisdiction over “all civil actions arising under the

                                  25   Constitution, laws, or treatises of the United States.” 28 U.S.C. § 1331. Additionally, a specific

                                  26   statutory grant of jurisdiction gives federal district courts subject matter jurisdiction over “any

                                  27   civil action arising under any Act of Congress relating to patents.” Id. § 1338(a). This Court

                                  28   therefore incontrovertibly has subject matter jurisdiction over the patent disputes in both the
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                                   1   Herceptin and Rituxan Lawsuits.

                                   2          Despite this mandate, Genentech contends that Celltrion’s failure to perform the BPCIA’s

                                   3   “patent dance” deprives this Court of jurisdiction. The Supreme Court, however, has repeatedly

                                   4   admonished courts to avoid “drive-by jurisdictional rulings” which fail to properly distinguish

                                   5   between a lack of subject matter jurisdiction and a plaintiff’s failure to state a claim. See Arbaugh

                                   6   v. Y&H Corp., 546 U.S. 500, 511 (2006). To discourage inappropriate challenges to subject

                                   7   matter jurisdiction, the Supreme Court developed the “clear statement” rule: courts should treat

                                   8   statutory requirements as nonjurisdictional unless there is a clear legislative statement to the

                                   9   contrary. Id. at 515-16.7 Here, Genentech has cited no “clear statement” by Congress suggesting

                                  10   that Congress intended the BPCIA’s requirements to be jurisdictional prerequisites. Rather, a

                                  11   review of the BPCIA reveals that the “patent dance” is a series of statutory conditions an applicant

                                  12   must satisfy before bringing an action for declaratory judgment. See Castillo v. U.S. I.R.S., No.
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                                  13   13-cv-00517-AWI, 2014 WL 1270548, at *4 (E.D. Cal. Mar. 26, 2014) (“Such claim processing

                                  14   rules are not jurisdictional unless Congress specifically attached jurisdictional consequences to

                                  15   such rules.”); cf. Yagman v. Pompeo, 868 F.3d 1075 (9th Cir. 2017) (finding Freedom of

                                  16   Information Act’s exhaustion requirements not “jurisdictional” in nature).

                                  17          Accordingly, the Court treats Genentech’s motions as seeking dismissal for failure to state

                                  18   a claim under Federal Rule of Civil Procedure 12(b)(6). Under this standard, courts construe

                                  19   complaints in the light most favorable to the non-moving party. Sanders v. Kennedy, 794 F.2d

                                  20   478, 481 (9th Cir. 1986).8 The plaintiff need only provide a “short and plain statement of the

                                  21   claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a). This requires the

                                  22

                                  23   7
                                         In subsequent opinions, the Supreme Court has telegraphed a consistently conservative approach
                                  24   to classifying rules as jurisdictional. See, e.g., Sebelius v. Auburn Regional Medical Center, et al.,
                                       568 U.S. 145, 153 (2013) (“Tardy jurisdiction objections can therefore result in a waste of
                                  25   adjudicatory resources and can disturbingly disarm litigants.”)
                                       8
                                  26     Even if Genentech’s arguments did constitute proper challenges to subject matter jurisdiction,
                                       this Court’s analysis would not change. The disagreement between the parties is not whether key
                                  27   actions giving rise to this Court’s jurisdiction occurred, but the meaning and effect of actions
                                       alleged in the complaints: facial, not factual, challenges. See Wolfe v. Strankman, 392 F.3d 358,
                                  28   362 (9th Cir. 2004) (observing defendant’s argument concerned adequacy, not accuracy, of
                                       allegations).
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                                   1   plaintiff to provide “more than labels and conclusions:” mere “recitation of the elements of a cause

                                   2   of action will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citing Papasan

                                   3   v. Allain, 478 U.S. 265, 286 (1986)). The Court may consider the facts alleged in the complaint,

                                   4   documents attached to the complaint, documents relied upon but not attached to the complaint

                                   5   (when the authenticity of such documents is not questioned), and other matters of which the Court

                                   6   can take judicial notice. Zucco Partners LLC v. Digimarc Corp., 552 F.3d 981, 991 (9th Cir.

                                   7   2009). Unless amendment would be futile, the Court should freely grant leave to amend. Reddy v.

                                   8   Litton Indus., Inc., 912 F.2d 291, 296 (9th Cir. 1990).

                                   9   C.       Celltrion’s Declaratory Judgment Actions Fail Under Section (l)(9)(B) of the BPCIA.

                                  10            Examining the complaints, and drawing all reasonable inferences in Celltrion’s favor,

                                  11   Celltrion fails to state a claim for relief in either the Herceptin or Rituxan Complaint. Because

                                  12   Celltrion did not complete its obligations under Section (l)(5), Celltrion may not file actions for
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                                  13   declaratory judgment with respect to the patents at issue.

                                  14            1.     Celltrion Did Not Complete the Statutorily Required Patent Dance.

                                  15            In the Herceptin and Rituxan Complaints, Celltrion alleges that the parties completed their

                                  16   respective Section 2(A), 3(A), 3(B), and 3(C) Disclosure obligations. See Herceptin FAC ¶¶ 39,

                                  17   41, 42, 46; Rituxan FAC ¶¶ 44, 46, 47, 51. In the Herceptin FAC, Celltrion then alleges that the

                                  18   parties began Section (l)(4)’s “good faith negotiation” process, but were unable to agree on which

                                  19   patents were suitable for “immediate” Phase I litigation. See Herceptin FAC ¶¶ 48, 49. At this

                                  20   juncture, the express terms of the BPCIA required both Celltrion and Genentech to complete the

                                  21   steps outlined in Section (l)(5). See 42 U.S.C. § 262(l)4, (l)(5). Yet, Celltrion never alleges that it

                                  22   either (i) sent its 5(A) Number to Genentech, or (ii) that the parties simultaneously exchanged 5(B)

                                  23   lists.

                                  24            The Rituxan FAC is similarly deficient. Celltrion’s allegations reveal that Celltrion began

                                  25   the Section (l)(4) negotiation process by indicating that it wanted to litigate all the patents

                                  26   contained on Genentech’s 3(A) Disclosure, but then did not wait for Genentech to respond. See

                                  27   Rituxan FAC ¶¶ 53, 54. There are no allegations that Celltrion sent its 5(A) Number or exchanged

                                  28   5(B) Lists with Genentech. Instead, Celltrion contends that it served Genentech with a notice of
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                                   1   commercial marketing pursuant to 42 U.S.C. § 262(l)(8)(A) and then filed suit. Id. ¶ 54.

                                   2           Section (l)(9)(B) provides: “If [an applicant] fails to complete an action required . . . under

                                   3   . . . paragraph (5) . . . the reference product sponsor, but not the [applicant], may bring an action

                                   4   . . . for a declaration of infringement, validity, or enforceability of any patent included in the list

                                   5   described in [the Section 3(A) Disclosure].” 42 U.S.C. § 262(l)(9)(B) (emphasis added). Thus,

                                   6   “when an applicant . . . fails to complete a subsequent step [in the patent dance] . . . the [reference

                                   7   product] sponsor, but not the applicant, may bring a declaratory-judgment action with respect to

                                   8   any patent included on the sponsor’s [list of relevant patents].” Sandoz, 137 S. Ct. at 1672; see

                                   9   also Celltrion Healthcare Co., Ltd. v. Kennedy Trust for Rheumatology Research, 14-cv-2256-

                                  10   PAC, 2014 WL 6765996, at *2 (S.D.N.Y. Dec. 1, 2014) (“Neither party may bring a declaratory

                                  11   judgment action while the process is under way; if the applicant fails to comply with these

                                  12   procedures, the reference product sponsor may bring a declaratory judgment action, but the
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                                  13   applicant may not.”). Celltrion fails to allege, in either complaint, that it provided Genentech with

                                  14   its 5(A) Number or simultaneously exchanged 5(B) lists with Genentech. In these circumstances,

                                  15   the BPCIA is clear: Celltrion may not bring a declaratory judgment action with respect to any

                                  16   patent on Genentech’s Section 3(A) Disclosures.

                                  17           2.      Celltrion’s Arguments Conflict with the Plain Meaning of the BPCIA.

                                  18           Celltrion’s arguments as to why its failures to comply with the BPCIA’s requirements do

                                  19   not bar this suit are unavailing.

                                  20           First, Celltrion suggests it may streamline its obligations under the statute and satisfy

                                  21   several steps at once. In support of the Herceptin Complaint, Celltrion argues that it is absolved of

                                  22   the responsibility to comply with Section (l)(5) because it told Genentech it “wished” to litigate all

                                  23   patents on Genentech’s 3(A) Disclosure. Celltrion contends that this statement both fulfilled its

                                  24   obligations to engage in “good faith negotiations” under Section (l)(4) and made the exchange of

                                  25   the 5(A) Number and 5(B) Lists “redundant.”

                                  26           This argument, however, improperly conflates Sections (l)(4) and (l)(5). The parties’

                                  27   obligations under Section (l)(5) only arise if the parties are unable to agree, after fifteen days of

                                  28   good faith negotiations, on a final and complete list of patents to litigate in Phase I. See 42 U.S.C.
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                                   1   § 262 (l)(4)(B). Given the plain language of this provision, and the relationship between Sections

                                   2   (l)(4) and (l)(5) more generally, the Court concludes that no single statement or gesture can satisfy

                                   3   the requirements of both sections simultaneously. Celltrion’s assertion that it “wished” to litigate

                                   4   all the patents on Genentech’s 3(A) Disclosure was merely a response to Genentech’s initial

                                   5   proposition and therefore part of the Section (l)(4) negotiation process.

                                   6          In defense of the Rituxan Complaint, Celltrion argues that it completed its obligations

                                   7   under Section (l)(4) by indicating it wished to litigate all listed patents because Genentech had, in

                                   8   its 3(A) Disclosure, “reserved its rights” to litigate all patents. Thus, according to Celltrion, there

                                   9   was nothing left to negotiate. In so arguing, Celltrion suggests that the 3(A), (B), and (C)

                                  10   Disclosures are somehow part of the Section (l)(4) negotiations, when they are, in fact, distinct

                                  11   statutory steps which the parties must complete before commencing the Section (l)(4)

                                  12   negotiations. 42 U.S.C. § 262(l)(4) (“After receipt by the [applicant] of the [3(C) Disclosure], the
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                                  13   reference product sponsor and the [applicant] shall engage in good faith negotiations to agree on

                                  14   which, if any, patents listed [in the 3(A), (B), and (C) Disclosures] shall be the subject of an action

                                  15   for patent infringement under paragraph (6).” (emphasis added)). The statutory procedures do not

                                  16   allow an applicant to collapse its multiple distinct obligations into one or two perfunctory actions.

                                  17          Moreover, Celltrion’s arguments in support of both complaints presuppose that, once the

                                  18   Section (l)(4) good faith negotiations began, any disagreement (or presumed disagreement) as to

                                  19   the desired scope of Phase I patent litigation permitted Celltrion to unilaterally terminate

                                  20   negotiations and end the patent dance. Yet, Celltrion provides no authority for the proposition that

                                  21   Section (l)(4) or (l)(5) requirements are excused if one party believes continued negotiation is

                                  22   futile. Further, Celltrion’s position runs counter to the principles and realities of negotiation.

                                  23   Negotiation would be entirely unnecessary if the initial positions of the reference party sponsor

                                  24   and the applicant were identical: the aim of negotiation, not the starting point, is agreement.

                                  25          Even assuming, arguendo, that Celltrion’s characterizations of its obligations under

                                  26   Section (l)(4) were correct, Celltrion failed to follow any statutorily prescribed path. If, after

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                                   1   completing Section (l)(4)’s “good faith negotiations,” the parties had agreed9 upon the patents they

                                   2   wanted to litigate in Phase I, the statute directed the reference product sponsor Genentech—not

                                   3   applicant Celltrion—to file a patent infringement lawsuit. 42 U.S.C. § 262(l)(6)(A). On the other

                                   4   hand, if, at the end of “good faith negotiations” the parties had not agreed on the scope of Phase I

                                   5   patent litigation, Celltrion was obligated to offer its 5(A) Number and then exchange 5(B) Lists.

                                   6   Even under this circumstance, the BPCIA commands Genentech—not Celltrion—to file a patent

                                   7   infringement action. Id. § 262(l)(6)(B). Neither path permitted Celltrion to file these declaratory

                                   8   judgment actions.

                                   9           Second, Celltrion argues that it is not obligated to offer its 5(A) Number or exchange 5(B)

                                  10   Lists because it filed this lawsuit nine days before the expiration of the fifteen-day period Section

                                  11   (l)(4) allots for good faith negotiation. By this argument, Celltrion suggests that the filing of this

                                  12   declaratory judgment action was permissible because it skipped required statutory steps, where the
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 United States District Court




                                  13   non-occurrence of those statutory steps explicitly bars Celltrion from filing this action—an

                                  14   unpersuasive legal Catch-2210. Celltrion was obligated to complete all required procedures before

                                  15   filing this lawsuit, and it did not.

                                  16           Finally, Celltrion argues that the notices of commercial marketing it served for Herzuma

                                  17   and Truxima enable it to file these declaratory judgment actions, regardless of its compliance with

                                  18   other portions of the BPCIA. The Court disagrees.

                                  19           Section (l)(9) contains three separate, independent statutory bars, each of which applies to

                                  20

                                  21   9
                                         Of course, it is not at all clear from the Rituxan Complaint that the parties were “in agreement”
                                  22   in wanting to litigate all patents on Genentech’s 3(A) Disclosure. In fact, the complaint suggests
                                       the exact opposite. Genentech’s 3(C) Disclosure demonstrates it was then focusing its attention
                                  23   upon a considerably smaller number of patents than it had originally set forth in its 3(A)
                                       Disclosure. Rituxan FAC ¶¶ 46-53. Celltrion’s position, after receiving the 3(C) Disclosure, was
                                  24   to press for litigation of all patents on the 3(A) Disclosure.
                                       10
                                  25     “There was only one catch and that was Catch-22, which specified that a concern for one’s
                                       safety in the face of dangers that were real and immediate was the process of a rational mind. Orr
                                  26   was crazy and could be grounded. All he had to do was ask; and as soon as he did, he would no
                                       longer be crazy and would have to fly more missions. Orr would be crazy to fly more missions and
                                  27   sane if he didn’t, but if he was sane he had to fly them. If he flew them he was crazy and didn’t
                                       have to; but if he didn’t want to he was sane and had to.” Joseph Heller, Catch-22 46 (Simon &
                                  28   Schuster 2004) (1961).

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                                   1   distinct factual circumstances where applicants fail to comply with certain steps. Section (l)(9)(C)

                                   2   applies when an applicant has not completed a 2(A) Disclosure. 42 U.S.C. § 262(l)(9)(C).

                                   3   Section (l)(9)(B) applies where an applicant has failed to complete any one of five specifically

                                   4   identified statutory steps (including Section (l)(5)). Id. § 262(l)(9)(B). And Section (l)(9)(A)

                                   5   imposes a temporary statutory bar that begins when a reference product sponsor receives an

                                   6   applicant’s 2(A) Disclosure and ends when an applicant serves a notice of commercial marketing.

                                   7   Id. § 262(l)(9)(A).

                                   8          Celltrion contends that because a notice of commercial marketing lifts the ban on

                                   9   declaratory judgment actions described in Section (l)(9)(A), a notice of commercial marketing

                                  10   should also lift Sections (l)(9)(B) and (C)’s prohibitions. By the explicit text of the statute,

                                  11   however, serving a notice of commercial marketing lifts the prohibition imposed by Section

                                  12   (l)(9)(A)—and Section (l)(9)(A) alone. See Sandoz, 137 S. Ct. at 1672 (reasoning Section
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 United States District Court




                                  13   (l)(9)(B) applies when “an applicant provides the application and manufacturing information but

                                  14   fails to complete a subsequent step”); see also Amgen, Inc. v. Apotex, Inc., 827 F. 3d 1052, 1057

                                  15   (Fed. Cir. 2016) (Section (l)(9)(B) addresses applicants “that begin but do not complete” the

                                  16   Section 262(l) processes).

                                  17          The Central District of California considered and rejected a similar argument in Amgen v.

                                  18   Genentech, Inc., 17-cv-7349-GHW, 2018 WL 910198 (C.D. Cal. Jan. 11, 2018). There, the

                                  19   applicant served a notice of commercial marketing and filed a declaratory judgment lawsuit before

                                  20   the parties had completed the 5(A) Number and 5(B) List exchanges. Id. at * 3-4. The court,

                                  21   discussing Sandoz, observed that to allow an applicant to bring suit after serving its notice of

                                  22   commercial marketing but before completing the rest of the BPCIA’s Section (l)(5) exchanges

                                  23   would “override congressional intent and do away with the ‘carefully calibrated scheme for

                                  24   preparing to adjudicate, and then adjudicating, claims of infringement’ set out in the BPCIA.” Id.

                                  25   (citing Sandoz, 137 S.Ct. at 1670); see also Sandoz, 137 S.Ct. at 1675 (BPCIA’s “carefully crafted

                                  26   and detailed enforcement scheme” provides “strong evidence” Congress did not intend to imply

                                  27   extra-statutory loopholes) (citation omitted). In other words, a notice of commercial marketing

                                  28   only opens the door for an applicant to file a declaratory judgment action if the applicant complies
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                                   1   with the rest of the statute. A notice of commercial marketing is no carte blanche, and Celltrion

                                   2   points to no authority that offers a contradictory interpretation.

                                   3          As Celltrion has failed to state a claim, the Court declines to address the issue of whether it

                                   4   would exercise its jurisdiction under the Declaratory Judgment Act.11

                                   5                                              CONCLUSION

                                   6          For the foregoing reasons, the Court GRANTS both motions to dismiss. The Court will,

                                   7   however, afford Plaintiffs leave to amend, to the extent that the identified deficiencies can be

                                   8   corrected consistent with counsels’ obligations under Federal Rule of Civil Procedure 11. Should

                                   9   Celltrion choose to file an amended complaint, it shall do so by June 10, 2018.

                                  10          IT IS SO ORDERED.

                                  11   Dated: May 9, 2018

                                  12                                                     ______________________________________
Northern District of California
 United States District Court




                                                                                         JEFFREY S. WHITE
                                  13                                                     United States District Judge
                                  14

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                                       11
                                  26     In 18-cv-00274-JSW, Celltrion seeks to seal the first complaint, first amended complaint, and its
                                       opposition to Genentech’s motion to dismiss. Dkts. 5, 39, 66. In turn, Genentech requests sealing
                                  27   of its motion to dismiss and reply brief in support. Dkts. 52, 70. In 18-cv-00276-JSW, Celltrion
                                       seeks to seal the first amended complaint and its opposition to Genentech’s motion to dismiss.
                                  28   Dkts. 39, 62. Genentech requests sealing of its motion to dismiss and reply brief in support. Dkts.
                                       49, 69. The Court grants all requests to seal.
                                                                                        13
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                          EXHIBIT 2
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October 10, 2017                                                                        Emily R. Whelan
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Robert V. Cerwinski, Esq.
Goodwin Procter LLP
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New York, NY 10018-1405

       Re: CT-P6, aBLA No. 761091

Dear Mr. Cerwinski:

I write concerning Celltrion’s aBLA No. 761091. As we have previously explained, Genentech
does not believe Celltrion has complied with its obligations under 42 U.S.C. § 262(l)(2), a
condition precedent to Genentech’s obligation to produce a list of patents pursuant to 42 U.S.C.
§ 262(l)(3)(A). Genentech requested specific manufacturing information and identified specific
deficiencies in Celltrion’s production in letters dated August 1, 2017, and September 19, 2017,
and explained why the missing information was necessary to evaluate whether Celltrion’s
proposed product infringes specific Genentech patents. Just yesterday—weeks after Genentech’s
requests—Celltrion refused to produce this information in contravention of the statute.

Celltrion’s non-compliance will be resolved in due course. If a court agrees with Genentech that
Celltrion has not complied with 42 U.S.C. § 262(l)(2), Genentech will pursue all remedies
available, including an order that aBLA No. 761091 is improper and that the FDA may not
review or approve it; an order requiring Celltrion to comply with 42 U.S.C. § 262(l)(2); an order
declaring that Genentech’s operative list of patents pursuant to 42 U.S.C. § 262(l)(3)(A) is not
due until that occurs; and any other appropriate relief.

Subject to and without waiver of any of the foregoing, should a court determine Celltrion
complied with 42 U.S.C. § 262(l)(2), the following list constitutes Genentech’s list of patents
pursuant to 42 U.S.C. § 262(l)(3)(A) that it believes reasonably could be asserted against
Celltrion’s proposed CT-P6 product based upon a review of the product’s aBLA filing.
Genentech is not prepared to license any of these patents to Celltrion.

Genentech reserves all rights to supplement or revise this list, including in light of additional
information provided by Celltrion.

                                                   Best regards,



                                                   Emily R. Whelan
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Robert V. Cerwinski, Esq.
October 10, 2017
Page 2

                    Patents Disclosed Pursuant to 42 U.S.C. § 262(l)(3)(A)

        6,121,428                         7,449,184                          8,574,869
        6,242,177                         7,485,704                          8,633,302
        6,331,415                         7,501,122                          8,691,232
        6,339,142                         7,807,799                          8,771,988
        6,407,213                         7,846,441                          8,822,655
        6,417,335                         7,892,549                          9,047,438
        6,489,447                         7,923,221                          9,080,183
        6,586,206                         7,993,834                          9,249,218
        6,610,516                         8,076,066                          9,428,548
        6,620,918                         8,357,301                          9,428,766
        6,627,196                         8,425,908                          9,487,809
        6,716,602                         8,440,402                          9,714,293
        7,371,379                         8,460,895
        7,390,660                         8,512,983
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                    EXHIBIT 3
                 FULLY REDACTED
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                          EXHIBIT 4
Case 1:18-cv-00095-CFC Document 26 Filed 05/21/18 Page 23 of 70 PageID #: 2021




January 5, 2018                                                                        Emily R. Whelan
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       Re: CT-P6, BLA No. 761091

Dear Mr. Cerwinski:

Enclosed is Genentech’s statement in accordance with 42 U.S.C. § 262(1)(3)(C) (“3C
Statement”). Genentech is providing its 3C Statement subject to the objections in my October
10, 2017 letter and the objections explained in the 3C Statement.

Under the Biologics Price Competition and Innovation Act (“BPCIA”), Genentech and Celltrion
are now required to engage in good faith negotiations to select the patents that will be included in
an action for patent infringement. See 42 U.S.C. § 262(1)(4)(A). We propose agreeing that all
patents addressed in Genentech’s 3C Statement be included in the infringement action under
§ 262(1)(6). Please let us know if that is agreeable to Celltrion. Otherwise, please let us know
your availability next week to confer.

Genentech expressly reserves all rights to supplement or revise its 3C Statement and
infringement and validity positions more generally, including in light of additional information
provided by Celltrion.

                                                  Best regards,




                                                  Emily R. Whelan
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             REMAINDER OF EXHIBIT 4
            REDACTED IN ITS ENTIRETY
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                          EXHIBIT 5
Case 1:18-cv-00095-CFC Document 26 Filed 05/21/18 Page 26 of 70 PageID #: 2024




Mr. Gunther,

Please see the attached correspondence regarding Celltrion’s CT-P6 product,
aBLA No. 761091.

Best regards,

Kevin

Kevin J. DeJong


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**************************************************************
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                          EXHIBIT 6
        Case 1:18-cv-00095-CFC Document 26 Filed 05/21/18 Page 31 of 70 PageID #: 2029

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                                          California Northern District

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Case Number:         3:18-cv-00274
Filer:               Teva Pharmaceuticals International GmbH
                     Celltrion, Inc.
                     Teva Pharmaceuticals USA, Inc.
                     Celltrion Healthcare Co., Ltd.,
Document Number: 1

Docket Text:
COMPLAINT for Declaratory Judgment of Patent Non-Infringement, Invalidity, and/or
Unenforceability against City of Hope, Genentech, Inc., Hoffmann-La Roche Inc. ( Filing fee $ 400,
receipt number 0971-12019225.). Filed byTeva Pharmaceuticals International GmbH, Celltrion,
Inc., Teva Pharmaceuticals USA, Inc., Celltrion Healthcare Co., Ltd.,. (Attachments: # (1) Exhibit
1, # (2) Exhibit 2, # (3) Exhibit 3, # (4) Exhibit 4, # (5) Exhibit 5, # (6) Exhibit 6, # (7) Exhibit 7, # (8)
Exhibit 8, # (9) Exhibit 9, # (10) Exhibit 10, # (11) Exhibit 11, # (12) Exhibit 12, # (13) Exhibit 13, #
(14) Exhibit 14, # (15) Exhibit 15, # (16) Exhibit 16, # (17) Exhibit 17, # (18) Exhibit 18, # (19) Exhibit
19, # (20) Exhibit 20, # (21) Exhibit 21, # (22) Exhibit 22, # (23) Exhibit 23, # (24) Exhibit 24, # (25)
Exhibit 25, # (26) Exhibit 26, # (27) Exhibit 27, # (28) Exhibit 28, # (29) Exhibit 29, # (30) Exhibit 30,
# (31) Exhibit 31, # (32) Exhibit 32, # (33) Exhibit 33, # (34) Exhibit 34, # (35) Exhibit 35, # (36)
Exhibit 36, # (37) Exhibit 37, # (38) Exhibit 38, # (39) Civil Cover Sheet)(Chatterjee, Indra) (Filed on
1/11/2018)


3:18-cv-00274 Notice has been electronically mailed to:

Indra Neel Chatterjee NChatterjee@goodwinlaw.com, CLogan@goodwinlaw.com,
JMcKenzie@goodwinlaw.com

3:18-cv-00274 Please see Local Rule 5-5; Notice has NOT been electronically mailed to:

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[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-0]
[3f3f640f808150e589129d8491cf4ce9323ee91959cf17f16416410141d72cb10e76
62fc7e498965dd680b117bdef2c0ab4f1b9206b156f1b36c98b99d690694]]
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[02d87d3813f22e6404209988e51f78dde64e9584c170a799eea518fd334fd7270772
45ca2c011cb509529ee49de0bff48c5e4476e90e061038ffd5f19c7db3f8]]
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[555a3802276c3ade55de00950497f54999e5fc860141dc48bba9ff4a32b5a20be4ee
951f8a496edffaca4499fa2a440c6812cfd35c4da7a5cb4d1ab1811e0307]]
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Original filename:C:\fakepath\Exhibit 3 - US6407213.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-3]
[684cfb468aa945ba52e658af00b9e8c0976151701143e51914e05acdabd8e1ec1063
a1e73da33279007ba29451c93510af344358149a0491387172d1e3b7903a]]
Document description:Exhibit 4
Original filename:C:\fakepath\Exhibit 4 - US6417335.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-4]
[84feabf6a1f90e032f80331c003c7ea9c8c5d339febcb1398f0cc259acdbb04200e4
e5e12811c4f4f224906f9ce41de91e6e733c7d3d8d161f1760fd61704b84]]
Document description:Exhibit 5
Original filename:C:\fakepath\Exhibit 5 - US6489447.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-5]
[5bf2f305578df366bb2172379f3e84ddc3330015a8fcbf706c47dff53d9ed6a406e4
bbbe02a3297897024a0c564433ff1277435e5130809a0216a69c2d3a78d4]]
Document description:Exhibit 6
Original filename:C:\fakepath\Exhibit 6 - US6586206.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-6]
[41606982febda6b9957fd9ab36ef242e005b317cd7642700ff432cc92af2183bd8fd
74c5fa49c39a678c6d7daeefaa065a2d720a90bba857ad77b4ffa7973b37]]
Document description:Exhibit 7
Original filename:C:\fakepath\Exhibit 7 - US6610516.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-7]
[a41730db0be6947581a5bc374dbba1bf3a1c662b517d16aa2e70296baa6bff4bf4dc
64668b2f0e0d34047cc72d863e82d9e2e8e738c43fe05b7c8d6c926d6316]]
Document description:Exhibit 8
Original filename:C:\fakepath\Exhibit 8 - US6620918.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-8]
[70e97a34315a8e31100ca1e4eec302999cdb85d39a8984581483d439136ffcaee780
cd8e68aa77bf6decbfe76dbb9503bffa792f707bb6996f7c3cb0392bd69d]]
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Document description:Exhibit 9
Original filename:C:\fakepath\Exhibit 9 - US6627196.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-9]
[38308f93cce13d7201d58ef843c74e5ed6d76ad328136b255967a994af45262234c6
a685009b9cff1d8cd77b2c7a6e0f219dfa2619147f07109b308fa1284223]]
Document description:Exhibit 10
Original filename:C:\fakepath\Exhibit 10 - US6716602.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-10
] [752158d4f6d5e260a432ff95fa1659360fc211a42c7c1c0fd778e4d4191fbad37b0
24c0773b1be46736cfeb5d41e77f26e23877c650ca471e97e4ca6be6ac686]]
Document description:Exhibit 11
Original filename:C:\fakepath\Exhibit 11 - US7371379.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-11
] [1469deb8019ab7a5951a6b8d38debe25ad1d63004cca345ffb43f8b3ec03ffb66a5
8f14bb255a67aa9a2181a53dc5dbce208ce8f6e5ac5fd60f0dcbd6b34176b]]
Document description:Exhibit 12
Original filename:C:\fakepath\Exhibit 12 - US7390660.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-12
] [1de64c8b7dff44f042ffbdae7a9740211b3b77982070cf49e8271c6a6d1137dfcc8
1d6c5fc780316c51f2efc4e051de7cac90ff94e0425e8cdc108851d24d234]]
Document description:Exhibit 13
Original filename:C:\fakepath\Exhibit 13 - US7449184.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-13
] [03b9e1a308df408b4576471e0c592705504cd9e0c59c627e701e73fc2dbf143236b
a201afb7ebb74cadf07ac0e4a03700effcb74c5cce812a5c1ac269c2dd087]]
Document description:Exhibit 14
Original filename:C:\fakepath\Exhibit 14- US7485704.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-14
] [608f35a62b14eaa9438de6c405c68c07cd3a0248cd5ed0f40776f455a4a8997fec3
8909bc60a8b65fa8d0f97af1665c69f130d55930d02a6e2b1cb27e052cd38]]
Document description:Exhibit 15
Original filename:C:\fakepath\Exhibit 15 - US7501122.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-15
] [0c28ac2afb404cd400201f299cdabafb8ce99210b935681c5a90ed130f5fd79d5b5
cf26bae201fe7538d57099d6d6d4d9e5d6b05c3202db80a3984c0a5e02c19]]
Document description:Exhibit 16
Original filename:C:\fakepath\Exhibit 16 - US7807799.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-16
] [4ad24248abe5e89e298b676c3179a79b51d56782c7c3bffc0378b6b82d31d7880c8
3749c8123148476442072ac5c2533536156b74ae48b478ddbed4f6b8adb84]]
Document description:Exhibit 17
Original filename:C:\fakepath\Exhibit 17 - US7846441.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-17
] [6077f1781e084f1052b048ac3edfcd21a3c535e5e98833d75c06d0ff37fbea1507d
73c299f1f1c155a1c25bb6dbbdd6b8355176bf41f2a52e0f212fba3f61d44]]
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Document description:Exhibit 18
Original filename:C:\fakepath\Exhibit 18 - US7892549.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-18
] [121538f3c1c03d8e03b7bc97457ffb43c4ad89e8039b0a11c28e5a0bea0a9df737d
fe81e24ea1cfbddb81c0d27e8b13d0a317acc076e67e380fbdf4f6b99d2d2]]
Document description:Exhibit 19
Original filename:C:\fakepath\Exhibit 19 - US7923221.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-19
] [04aeb56d83023febc727bbf064b10c7c3447ac02891ab051bc3d987f8e73cc7af9f
63ada0235dea73ca2f31c3254e22cf991eec58d073dca01143ce378e6d47e]]
Document description:Exhibit 20
Original filename:C:\fakepath\Exhibit 20 - US7993834.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-20
] [5776644ba17295fd7b5147e1175c86d5a92d0c1c7d006a03d91acd1a8a9cb0f8ae5
09a2debc8269f57f099656ed3ea2c50f0626e017073d1a3ff9bf9086dacfb]]
Document description:Exhibit 21
Original filename:C:\fakepath\Exhibit 21 - US8076066.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-21
] [7a4a2d1702efce0fc9ecd2ee8d2c63ec82cb9b1c3fd2ee5accfaa8f084b4102c868
9271ba344d5b1e61b448972a36f7b46ede082888f93b087c3bf8d18076463]]
Document description:Exhibit 22
Original filename:C:\fakepath\Exhibit 22 - US8357301.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-22
] [7ff9020c5ef5b6d1dd9a2acc90ffe8340c7e6c651d5103aed10c9df9f40314f2957
431905acb33ff61e07a3ae778d9d63f1224c8f291361df8c75d2bc79b1a40]]
Document description:Exhibit 23
Original filename:C:\fakepath\Exhibit 23 - US8425908.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-23
] [9199b835f32a921f973658eddd0999052ba381a722dc064c3a73d2d5513bd8563d9
32b44d0f295895be4c847c548819d28901a6fd654fb6e9bf08c225af40222]]
Document description:Exhibit 24
Original filename:C:\fakepath\Exhibit 24 - US8440402.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-24
] [8716bda491accaf4f8c77dbaf6ff51fd1431807c80bc8f747c77499a9303e019558
b368c906f467b6bd85179c84352798cace6f8f193fa6a5ed908c360c78dae]]
Document description:Exhibit 25
Original filename:C:\fakepath\Exhibit 25 - US8460895.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-25
] [1cdc7a975ead3d11c33f17363401bc2ca9c82d26eca3a2a6ccefa609920e1d5c0de
e871613c1b093c68d12a7afa7bde625d8a2694b6c81b1b512d0dabf9bc7e8]]
Document description:Exhibit 26
Original filename:C:\fakepath\Exhibit 26 - US8512983.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-26
] [5cc7cda25212c452aac922f113bc886250dac6360ca9800554c1a73ce5352321601
27be7426065d2454a7164b4006e9ef31f26bff0323329a24afd208991511e]]
        Case 1:18-cv-00095-CFC Document 26 Filed 05/21/18 Page 35 of 70 PageID #: 2033
Document description:Exhibit 27
Original filename:C:\fakepath\Exhibit 27 - US8574869.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-27
] [3614c11744609fceb4b2bfb2a6251ea334f6ae938a273459dfdf7d80f37243bc858
b2144c4d96f91dc316d5632fe127942b8d59ab6f710ed82caff4f670491b5]]
Document description:Exhibit 28
Original filename:C:\fakepath\Exhibit 28 - US8633302.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-28
] [a84737d01821b970d60ea382e28f4ff25303046baff2b4fe54bbfbedbead4cea8e0
57f6ffb1f60c0b2727e2ff0ca9faf20303bc8c5c932bf832de1cbcd6905fb]]
Document description:Exhibit 29
Original filename:C:\fakepath\Exhibit 29 - US8691232.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-29
] [9cc52eb08e84a084d4298c72bb93e81f0d8bd6a73e1ca875a7d92bea77b25a48157
c13857dc8b93bedde03df7d54d23e8aa8247d5a6a25fe1636cab116188b7a]]
Document description:Exhibit 30
Original filename:C:\fakepath\Exhibit 30 - US8771988.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-30
] [23f1647e4a0f2e6b8e773dbfeeb71f3e474d32719d09b597623ba977a2a2cdbe44a
1157b4b3a2f5c8ed951f7d2cd7bfaa84e89d5968d047840fd82b9d6671749]]
Document description:Exhibit 31
Original filename:C:\fakepath\Exhibit 31 - US8822655.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-31
] [7b1c975e4a4a362b806d521e5654acbf960f2251bf7f8e3df6adb1bcc22987b2c25
f6c8068de0533541b6799f1de8a87444e971b93aeeb26bd7f06ec8c23d269]]
Document description:Exhibit 32
Original filename:C:\fakepath\Exhibit 32 - US9047438.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-32
] [2d0b0899acf1899c209abed1963bae186b1a75ea25a5f4bb7df1460ac8e04f24327
255a45a54de9c749218375667a68471108521a5d6f85c60ab7df6298a263c]]
Document description:Exhibit 33
Original filename:C:\fakepath\Exhibit 33 - US9080183.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-33
] [5a4112a940265a022a81efe728886edadc791a92d276f36b57b0ba01a8b8e36fa2f
68f16b2e7fb475ce8087ffdc5eb24475b1206b5ef1aa76943f2656d572d33]]
Document description:Exhibit 34
Original filename:C:\fakepath\Exhibit 34 - US9249218.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-34
] [9c0f05b5ae8bbdc900144d529ce3e06eeaecb056b0932babd624a2a1ae998cba894
bcae479e793313a11a62a935d1efd8dd80df25896341e11edac8af82f83d6]]
Document description:Exhibit 35
Original filename:C:\fakepath\Exhibit 35 - US9428548.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-35
] [8dd23d8bdbdc137aeb5c45992797a9321542350d66cb650ea40e6029a7f13b1d4e5
284cb287929c64ee02b6b1e960fc29384cb071c448e9c2eb0abe3f2405e1d]]
        Case 1:18-cv-00095-CFC Document 26 Filed 05/21/18 Page 36 of 70 PageID #: 2034
Document description:Exhibit 36
Original filename:C:\fakepath\Exhibit 36 - US9428766.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-36
] [0b7e72bd1b0b1020644f6804fb82f6a7278540f3329054d760ddcd69e7ab9058c45
7313515702943e111bb4d466595677506520639006938d7fac466a9c5271e]]
Document description:Exhibit 37
Original filename:C:\fakepath\Exhibit 37 - US9487809.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-37
] [64c3a3107b0e8a7186b333ba571d69444edb160a65bb0fcf1d3d1a1b690a62b096f
87cb2ab903c4e9c13d0c0329359e5b3116c8d42ffe0ff04484f758a31d3ee]]
Document description:Exhibit 38
Original filename:C:\fakepath\Exhibit 38 - US9714293.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-38
] [4542a9ef957feb3af97ce9ab318eca7d62c9387b3b4f977244af47a45ea281981c8
534b12e4be25756d0184bb67040235a0f0ad3d28ee8c747520e9dce28efed]]
Document description:Civil Cover Sheet
Original filename:C:\fakepath\a_Civil Cover Sheet -JS-44 - FINAL.PDF
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=1/11/2018] [FileNumber=14420114-39
] [597f045e3f2201d148d24120085174693171e29612253dfff9c39828eef33f6ebb4
2ced3fd82e9773a2badde79085b3f389b6c4ea697446ce8f70a243dfdfc4c]]
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www.pwc.com/us/forensics




May 2017



2017 Patent Litigation Study
Change on the horizon?


                                          Trends
       Despite Idenix                     • $2.5B Largest patent infringement
        mega-award,                         award in US history granted to
median damages                              Idenix (Merck)
     down 40%                             • 9% fewer patent cases filed in
relative to last year                       2016 v. 2015
                                          • 33% Patentee success rate steady
                                          • 80/20 Jury versus bench proportion
                                            continues to rise (up from 75/25)
                                          • 15x Median jury award over 15x
                                            greater than median bench award
                                            in last 5 years
                                          • 52% of appealed decisions were
                                            modified in some regard
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Trends




SCOTUS: Significant developments
  •	A shift in pleading standards. The Supreme Court abolished
      Rule 84—effectively making it harder for smaller entities to bring
      patent suits

  •	Halo v. Pulse and Stryker v. Zimmer decisions address the tests
    for willfulness, easing the way to obtain punitive damages (p. 10)

  •	Apple v. Samsung levels the playing field between design patents and other types
    of patents, by imposing apportionment concept to design patent damages (p. 12)

  •	TC Heartland v. Kraft Foods could significantly restrict venue choice and further
      reduce patent litigation (p. 23)




Industries and districts
  •	Medical devices industry edges biotech/pharma industry
    in top median damages while consumer products still leads
    in number of cases

  •	Distribution of cases continues to be skewed: filings grow in
    tech-rich California Northern and corporate-rich Delaware




Nonpracticing entities (NPEs) vs. practicing entities (PEs)
  •	NPE/Practicing Entities = 3.8x Damages awards for NPEs in
    the last five years continue to widen relative to practicing entities
    (last year was 2.7x)

  • Still, NPEs face lower success rates at trial and in summary judgments

  • N
     PE cases concentrated: five of 94 district courts account for nearly half (46%)
    of all identified NPE decisions—Texas Eastern is favorite district for NPEs




PwC | 2017 Patent Litigation Study                                                                 2
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Overview:
What are the trends to watch?
Patent litigation continues sharp downturn, while grants bounce back

The number of patent cases filed declined again in 2016, continuing a downward trend from the
high point reached in 2013. Approximately 5,100 cases were filed in 2016, representing a year-
over-year drop of 9%—and growing evidence of a clear shift in direction.

What’s behind the decline? One likely factor is an important change in pleading standards that
took place in December 2015—namely, the abolishment of Rule 84 of the Federal Rules of Civil
Procedure and its use of Form 18, which simplified the process of bringing a suit for direct patent
infringement (especially useful for smaller companies and solo inventors). With this change, the
default pleading standard for patents will be the heightened plausibility standards as set forth in
Bell Atlantic Corp. v. Twombly and Ashcroft v. Iqbal.

The decline in the number of cases over the last three years stands in contrast to its compound
annual growth rate (CAGR) since 1991, which has remained at 6%. At the same time, the number
of patents granted by the US Patent and Trademark Office (USPTO) increased by 4% in 2016,
after seeing a rare decline last year.


Fig 1: Patent case filings and grants

                7,000                                                                                                             350,000



                6,000
                                                                                                                                  300,000


                5,000
                                                                                                                                  250,000
 Case Filings




                                                                        CAGR = 4.9%
                                                                                                                                            Grants

                4,000

                                                                                                                                  200,000
                3,000


                                                                                                                                  150,000
                2,000
                                                                                                        CAGR = 6.0%

                1,000                                                                                                             100,000
                        ’91 ’92 ’93 ’94 ’95 ’96 ’97 ’98 ’99 ’00 ’01 ’02 ’03 ’04 ’05 ’06 ’07 ’08 ’09 ’10 ’11 ’12 ’13 ’14 ’15 ’16
                                                                          Year
                               Case Filings              Grants
   Years are based on September year-end.
   Sources: Performance & Accountability Report (USPTO) and Judicial Facts and Figures (US Courts)


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Overview




Top damages awarded… and yet median jury
damages trended lower
                                                                                          $2.5 billion
The largest patent-infringement verdict in US history was granted                         awarded in
in 2016 in Idenix Pharmaceuticals LLC v. Gilead Sciences Inc.
                                                                                          largest patent
Idenix, a subsidiary of Merck, was awarded $2.5 billion by a jury
for its patent related to a hepatitis C drug. While this award was                        infringement
remarkable, it appears as an outlier when viewed in the larger                            verdict in
context: the 2016 median damages award was $6.1 million—a                                 US history
significant decrease from 2015’s median award of $10.2 million.

We also studied the top ten initial damages awards since 1997. It
is important to note that the following awards are those identified
during initial trial, and all have been vacated, remanded or
reduced; were settled while pending appeal; or are still under
appeal. In some cases, the settlement value exceeded the
original trial verdict, generally because it covered post-trial sales
beyond the initial litigation.


Fig 2: Top ten largest initial adjudicated damages awards: 1997–2016


                                                                                                                     Award
Year    Plaintiff                     Defendant                        Technology
                                                                                                                     (in $M)

2016    Idenix Pharmaceuticals LLC Gilead Sciences Inc.                Hepatitis C drugs                             $2,540
2009    Centocor Ortho Biotech Inc. Abbott Laboratories                Arthritis drugs                               $1,673
2007    Lucent Technologies Inc.      Microsoft Corp.                  MP3 technology                                $1,538
2012    Carnegie Mellon University Marvell Technology Group            Noise reduction on circuits for disk drives   $1,169
2012    Apple Inc.                    Samsung Electronics Co.          Smartphone software                           $1,049
2012    Monsanto Company              E.I. Du Pont De Nemours and Co. Genetically modified soybean seeds             $1,000
2005    Cordis Corp.                  Medtronic Vascular, Inc.         Vascular stents                                $595
2015    Smartflash LLC                Apple Inc.                       Media storage                                  $533
2004    Eolas Technologies Inc.       Microsoft Corp.                  Internet browser                                $521
2011    Bruce N. Saffran M.D.         Johnson & Johnson                Drug-eluting stents                            $482




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Overview




Trier of fact:
Will the shift to jury trials ever reach a ceiling?

We have witnessed a dramatic shift in the trier of fact in patent
cases over the last 15 years.

Where previously bench trials were more common, since the turn
of the century, jury trials have predominated: in the last five years,
the percentage of cases decided by a jury—excluding Abbreviated
New Drug Application (ANDA)-related cases1—reached 80%,
from last year’s Study’s most recent five-year share.

The reason for the strong pull to jury trials is fairly straightforward:
juries have historically tended to award patentees with higher
success rates and median damages awards.


Fig 3: Percent of cases decided by juries (excluding ANDA cases)


                                                                                 80%
                                                                 70%
                                                  61%



                                  32%




                                 1997−2001       2002−2006      2007−2011       2012−2016

1
    These cases are, with rare exceptions, tried by the bench, and their increasing prevalence
     in recent years would otherwise skew this measure.



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Overview




General slowdown in time-to-trial

Despite the recent decline in number of patent cases filed, the                     Despite recent
amount of time parties must wait for trial has continued its slow                   reductions in
growth towards 2.5 years.
                                                                                    the number of
                                                                                    litigations filed,
Fig 4: Median time-to-trial                                                         the case volume
                                                               3.0
                                                                                    has more than
                                                                                    doubled over the
                                                               2.5
                                                                                    study period.
                                                                                    Additionally,
                                                        62
                                                                                    detours through
                                                               2.0
                                        54                                          the Patent and
                                                                                    Trial Appeal
                                                                     Years




                                                               1.5
                           40                                                       Board process are
                                                                                    significantly up.
                                                               1.0
                                                                                    Together these
            20                                                                      will continue
                                                               0.5
                                                                                    to lengthen the
                                                                                    median time
        1997−2001      2002−2006     2007−2011     2012−2016
                                                               0.0
                                                                                    to trial.
                 Number of              Median time-to-trial
                 cases per year         (in years)




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Overview




         Expert witnesses: When business opportunities expose you
         to disputes

         Business leaders are constantly making big decisions to drive growth and
         profitability: an acquisition, a new strategic alliance, outsourcing or other
         transaction. And any one of these opportunities can lead to a dispute.

         Naturally, you want to minimize the chance of a dispute happening. But if it does,
         you want the right result for your company. And for that, chances are you’ll need
         help with:

            •	Protecting the value of your intellectual property (IP), brand and business
               assets during a dispute
            • Understanding the merits and potential magnitude of the dispute
            •	Gathering guidance on crucial industry, economics, finance and
               accounting issues

         In complex business disputes, the outcome of your case (and even of your
         company) can rest on the quality and expertise of the professionals you turn to, in
         areas such as:

            •   Valuation (including IP and licensing matters)
            •   Advanced data analytics
            •   Quantification of damages
            •   Expert witness testimony
            •   Arbitration, mediation or special masters
            •   Forensic accounting

         Whether your case centers on complex accounting issues, breach of contract,
         intellectual property infringement, business valuation, international arbitration
         or a range of other disputes, the right expert can help steer you through the
         controversy, present the facts to withstand vigorous cross-examination—and
         strengthen your chances of prevailing.




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Damages:
Which way is up?

Median damages award drops in 2016, while one
case award hits record high
                                                                                           Despite the mega-
The annual median damages award between 1997 and 2016                                      damages awarded
ranged from $2.0 million to $17.0 million, with an overall median
                                                                                           to Idenix,
award of $5.8 million over the last 20 years. Despite the mega-
award granted to Idenix, the median damages award was $6.1                                 2016 median
million in 2016—a significant decrease from 2015’s median award                            damages award
of $10.2 million.                                                                          declined sharply
Excluding damages awarded before trial (i.e., summary judgment
                                                                                           from 2015
and default judgment), the overall median award over the last 20
years jumps to $8.0 million.




Fig 5a: Median damages award (in $M)                          Fig 5b: Median damages award (in $M)
                                                              (excluding summary and default judgment)


   $8.5                                                          $8.5                                             $8.9
                                                                                                 $7.4
                                                                                 $6.7
                   $5.8                             $5.8
                                   $4.8



      49             122              166             175           47             119              147             147

  1997−2001       2002−2006       2007−2011       2012−2016    1997−2001        2002−2006       2007−2011       2012−2016

The number of identified decisions is indicated within the    The number of identified decisions is indicated within the
respective column.                                            respective column.




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Damages




Despite significantly outpacing median bench awards (by a factor of 15
in the last five years), median jury awards have been steadily decreasing.
                                                                                    Median jury
Fig 6: Median damages award: bench vs. jury decisions (in $M)                       award is
                           $11.2                                                    14x–20x
                                              $9.8                $9.5              greater than
 $8.5
         $7.2                                                                       bench over
                                                                                    the last
                                                                                    15 years
                     $0.8              $0.5              $0.6
    1997−2001           2002−2006         2007 −2011         2012−2016

                                                          Bench     Jury




         Winning enhanced damages gets a little easier

         In June 2016, the US Supreme Court decided two cases jointly, concerning the
         hurdles for obtaining enhanced (up to 3x) damages under §284: Halo v. Pulse
         and Stryker v. Zimmer. This ruling overturned the Federal Circuit’s 2007 Seagate
         Technologies LLC three-pronged test, instead directing that:

            1.	The “objective recklessness” requirement be eliminated, which previously
                allowed any plausible liability or infringement defense offered at trial (even
                if not considered by the accused at the time of infringement) to deflect
                willfulness claims.

            2.	The standard of proof should be relaxed to the preponderance of the evidence,
                rather than the previous higher bar of clear and convincing evidence.

            3.	De novo review for abuse of discretion was deemed unwarranted, thereby
               giving more deference to the district court’s first impression on willfulness.

         While the Court’s guidance is still that enhanced damages should be limited to
         egregious cases of deliberate disregard of the patentee’s IP rights, this ruling will
         nevertheless make obtaining them a bit less daunting.



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Damages




Reasonable royalties vs. lost profits                                            Fig 7: Composition
How are patent holders most often compensated for infringement?                  of damages awards
                                                                                 (practicing entities only)
Among practicing entities, reasonable-royalty-only awards are
still the type of damages most frequently awarded in patent                                            26%
cases—almost three times as often as lost-profits-only awards.
                                                                                                       60%
Hybrid awards, where both lost profits and reasonable royalties
are awarded together, are less often awarded.                                                          14%

So why the strong preference for reasonable royalties over lost
                                                                                               1997−2006
profits? The main reasons:

  •	21% of our identified cases involve NPEs, which are ineligible
     for lost profits damages.

  •	Even patentees eligible for lost profits awards might eschew                                      21%
     lost profits claims—they may not want to risk disclosing the
     proprietary cost and profit information necessary for the
                                                                                                       61%
     calculation of lost profits.                                                                      19%
  •	Lost profits entitlement can be more difficult to establish.
     As the proliferation of competition and specialized distribution                          2007−2016
     channels disrupts many industries (pharmaceutical,
     consumer products), there is greater access to substitute
     products. Therefore, even without an alleged infringer’s
     products on the market, consumers may not have purchased
                                                                                   Lost profits only
     the patentee’s covered product.                                               Reasonable royalties only
                                                                                   Lost profits and reasonable royalties




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Damages




         Apple v. Samsung: Supreme Court Weighs in on Design Patents

         Design patent damages have been a hot topic of discussion since August 2012,
         when a California jury awarded Apple significant damages in its lawsuit against
         Samsung—with a large portion of the damages based on Samsung’s entire
         profits on accused smartphones. At issue is the difference between damages law
         for infringement of design patents (35 U.S. Code § 289) versus other patents (35
         U.S. Code § 284).

         In a unanimous 8-0 decision, the Supreme Court reversed the Federal Circuit and
         threw out Apple’s nearly $400 million in damages. The case went back to District
         Court, after the Federal Circuit remanded it for further consideration of what
         damages are appropriate in light of the Supreme Court’s decision. This will likely
         necessitate a third trial in the ongoing Apple v. Samsung saga.

         Design patents and available damages
         According to the US Patent and Trademark Office (USPTO), the claimed subject
         matter of a design patent is the design embodied in or applied to an article of
         manufacture (or portion thereof)—and not the article itself. The design consists of
         the visual characteristics embodied in or applied to an article.

         A patentee claiming infringement of a design patent can recover damages
         under § 284 or § 289. Traditionally better known, § 284 calls for actual damages
         suffered by the patent holder (e.g., lost profits, price erosion) but not less
         than a reasonable royalty to compensate for infringement. Critically, damages
         under § 284 require an apportionment between the patented invention and
         other components, unless the patented element drives the sale of the entire
         apparatus—including unpatented components—and hence qualifies for the
         “entire market value rule”.

         In contrast, § 289 allows for a design patent holder to claim the infringer’s entire
         profits as damages. Prior to the Supreme Court’s ruling, District Court and
         Federal Circuit decisions interpreted the language under § 289 to include the
         entirety of an infringer’s profits, even if the design patent only relates to one
         component among many others.




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Damages




         What did the Court say? Apportionment is likely on its way
         The Supreme Court held that for “a multicomponent product, the relevant ‘article
         of manufacture’ for arriving at a § 289 damages award need not be the end
         product sold to the consumer but may be only a component of that product.”
         This seemingly aligns § 284 and § 289 damages, suggesting the requirement of
         apportionment of damages to the relevant patented and unpatented components.

         The question in the Apple v. Samsung matter remains, however: what is the
         “article of manufacture” in the context of the design patents involved? These
         issues still need to be resolved and will be taken up by the District Court
         on remand.

         Design patent growth and the road ahead
         Interestingly, USPTO data shows that since the first Apple v. Samsung jury award
         in 2012, both design patent applications and design patents issued are growing
         at a faster rate than other patents. Between October 2012 and September 2016,
         design patent applications grew by a compound annual growth rate of 7.4%
         (compared to 4.6% for other patents). Similarly, issuances of design patents
         outpaced other patents (4.8% for design patents versus 2.5% for other patents)
         over the same time period.

         Is the recent uptick in design patent activity related to the Apple v. Samsung
         litigation, in that it brought attention to the broader design patent remedies
         available? Will we continue to see similar trends? Or will the effect of the
         Supreme Court decision to align damages be to cool off design patent filings?
         We shall see…




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Success rates:
How are jury and bench trials faring?

Success rates decline modestly, while gap remains large

Over the last 20 years, patent holders have enjoyed 22–33%                          Patentees’
higher trial success rates with juries than with the bench.                         success
However, success rates for both the bench and juries have
                                                                                    rates with
declined slightly over the most recent 15 years.
                                                                                    juries are
                                                                                    substantially
Fig 8: Trial success rates: bench vs. jury
                                                                                    higher than
                             77%               76%
                                                                                    with the bench.
         74%                                                       74%
                                                                                    This success gap
                                                                                    is even more
                     55%                53%                                         pronounced for
                                                           52%
                                                                                    non-practicing
 41%
                                                                                    entities (NPEs).




    1997−2001           2002−2006         2007−2011           2012−2016

                                                           Bench      Jury




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Success rates




Success rates are significantly higher at trial                           Practicing entities are more
than summary judgment                                                     successful than NPEs,
                                                                          especially with the bench
Over the last 20 years, practicing entities fared better
than NPEs, enjoying an 11% premium in their overall                       While overall success rates increase
success rate. However, the gap in success rates narrows                   for both practicing entities and NPEs
at trial as compared to summary judgment.                                 at trial, it is highly dependent on the
                                                                          trier of fact. The jury gives much
                                                                          higher success rates compared to
                                                                          the bench: almost double for NPEs
                                                                          and 1.5x for practicing entities.


Fig 9: Patent holder success rates: 1997–2016                              Fig 10: Patent holder success
                                                                           rates at trial: 1997–2016

                                                                                                        77%
                                                                                                     70%
                                                   66%
                                                61%
                                                                                      53%


              36%                                                              36%

       25%
                                      15%
                                6%



            Overall                Pretrial          Trial                          Bench                  Jury
                                                                                   decisions             decisions

            NPEs        Practicing entities                                         NPEs       Practicing entities




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Practicing entities and NPEs:
Where’s the gap?

Disparity between NPE and practicing entity damages
grows wider
                                                                                          Damages awards
Our analysis shows the continuation of a trend that began in                              are almost
the early 2000s: significantly higher damages awarded to NPEs

                                                                                          4x
relative to practicing entities. The median damages award for
NPEs was significantly higher than practicing entities in the last
15 years. While this disparity had narrowed to about 1.6x in
                                                                                          greater for NPEs
the 2007–2011 period, in the most recent five-year period the
NPE median damages award climbed to 3.8x the median for
practicing entities.


Fig 11: Median damages award: NPEs vs. practicing entities (in $M)

  NPEs
  Practicing entities




                                          $12.1                                             $15.7
  $6.7          $9.2                                     $4.5        $6.1        $3.8                          $4.1

           1997−2001                             2002−2006              2007−2011                  2012−2016




Fig 12: Key statistics for practicing entities and NPEs: 1997–2016


                             Median time-to-         Overall         Median
                              trial (in years)     success rate   damages award

NPEs                                2.6                25%         $11,466,676
Practicing entities                 2.3                36%          $4,923,580




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Practicing entities and NPEs




We looked further into NPE litigation by NPE type. We compared
companies, universities/non-profits, and individual inventors.
                                                                                      Universities/
                                                                                      non-profits do
Fig 13: Patent holder median damages award by NPE type:
1997–2016 (in $M)
                                                                                      not litigate as
                                                                                      often as other
                                                                                      NPE types;
              79                                           $13.0                      however, when
            Company                                                                   they do, they
                                                                                      have both higher
              11                                                   $16.3              success rates
            University/non-profits
                                                                                      and higher
                                                                                      median damages.
              38                     $6.7
            Individual

The number of cases is indicated within the respective row.



Universities/non-profits still lead in both median damages award
and overall success rate, although they comprise the smallest
share of NPE cases.


Fig 14: Patent holder success rates by NPE type: 1997–2016




         79/283                          11/21                      38/213


     28%
   Company success
                                     52%
                                Universities/non-profits
                                                                 18%
                                                               Individual NPEs lag
      rate falls in             lead the pack in overall      far behind, below the
      the middle                      success rate            overall 25% success
                                                                  rate for NPEs
  The number of cases is indicated below each graphic.



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Industries:
Which ones are leading the pack?

The five most active industry classifications (out of 20) collectively
account for 60% of identified decisions. Patent cases associated
with the consumer products industry continue to be most                                Since 1997,
prevalent, relating to products such as:                                               consumer
  •   diapers                                                                          products
  •   infant carriers                                                                  represented

                                                                                       16%
  •   cosmetic palettes
  •   coffee cartridges

                                                                                       of all identiﬁed
Fig 15: Distribution of cases: top ten industries: 1997–2016                           patent cases

 Consumer products              2%                                     14%


      Biotech/pharma              3%                             11%


Computer hardware/
                                  3%                     8%
        electronics


            Software              3%                6%

                             1%
           Industrial/
                                                    8%
         construction
                             1%
      Medical devices                          6%


Telecommunications              2%        4%

                             1%
         Business/
                                       4%
  consumer services
                             1%
          Automotive                 3%

                             0%
                                                          NPEs
           Chemicals              3%
                                                          Practicing entities

                           0%             5%             10%           15%      20%




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Industries




Although patents associated with the consumer products industry
represented the largest percentage of identified decisions, their
median damages award was among the lowest of all industries.                                         Medical devices
                                                                                                     take the #1 spot
In a change, the medical device industry surpassed biotech/                                          for highest
pharma (the longtime leader) for highest median damages. Along
with telecommunications, these industries continue to experience
                                                                                                     median
significantly higher median damages awards than other                                                damages
industries. These industries tend to include capital-intensive                                       award
businesses that require significant research and development or
technology infrastructure. They also entail generally higher sales
and margins, which translates to larger damages.


Fig 16: Median damages award: top ten industries: 1997–2016


 Consumer products                87


     Biotech/pharma              27


Computer hardware/
                                 88
        electronics

            Software             44


           Industrial/
                                 50
         construction

     Medical devices             58


Telecommunications               39


         Business/
                                 20
  consumer services                                                           The number of
                                                                              identified decisions
          Automotive             20                                           with damages is
                                        Median damages for all                indicated within the
                                        industries is about $5.8M             respective row.
           Chemicals             16


                            $0            $5       $10       $15              $20
                                       Median damages awarded (in $M)

 The number of identified decisions is indicated within the respective row.
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Industries




Success rates fairly consistent across industries,
with notable outliers

Holders of patents related to the consumer products, biotech/
pharma, computer hardware/electronics and medical devices
industries achieved success rates slightly higher than the median
of 33%. Software and business/consumer services were notable
outliers, with significantly lower success rates.


Fig 17: Patent holder success rates: top ten industries: 1997–2016


Consumer products


    Biotech/pharma


Computer hardware/
        electronics


          Software

         Industrial/
       construction


    Medical devices


Telecommunications
                                                                   Overall success rate




         Business/
  consumer services


        Automotive


         Chemicals


                        0%     5%    10%   15%   20%   25%   30%   35%                    40%




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Industries




         How well are you protecting your IP, brand and reputation?

         The conditions that surround your intellectual property, your brand and your
         reputation are increasingly treacherous. Counterfeit and pirated goods are
         entering countries from air, land and sea, infiltrating legitimate supply chains and
         exceeding the ability of brands to deal with them adequately. Cyber attacks—
         threatening both your IP and your reputation—are a threat that seems to grow by
         the day. Online media is a game-changer as a major conduit for collecting and
         disseminating information—be it accurate, inaccurate or malicious.

         And economic crime continues unabated. Thirty-eight percent of US companies
         say they’ve been victimized by fraud over the last 24 months—with 64% saying
         that the primary impact of the crime was on the strength of their brand and
         reputation. What’s more, one in four expect to experience intellectual property
         infringement in the next two years.2

         In the face of this complex of threats, how do you protect your brand and IP?

         Many leading companies are turning to global intelligence to monitor risks,
         opportunities and dangers emerging via social media, online communities, news
         sites and dark webs. They’re also using these tools to assess public sentiment
         and brand perception to uncover potential blind spots. Global intelligence can
         help you answer critical questions such as:

              • What are your customers and competitors saying about you?
              •	Who are key influencers and drivers of the conversation around your brand integrity?
              •	How should you flag adverse posts such as potential risks and threats to
                 your reputation?
              • How is the public responding to your brand, and how can you react?
              • What threat actors are going undetected?
              • How will foreign political risk affect your organization?

         To learn how PwC can help you leverage global intelligence to protect your
         reputation and safeguard your assets, click here.

         2
             Source: PwC’s Global Economic Crime Survey 2016. PwC, 2016.




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Across districts:
Results may vary?




Fig 18: District Court rankings: 1997–2016


                                                           Overall                 Median                     Median
 Overall                             Case
         District                               Rank      success       Rank      damages         Rank     time-to-trial   Rank
  rank                               Count
                                                            rate                   award                     (in years)
    1      Delaware                   285          1         41%          4       $16,162,113       4           2.1         5
    2      Texas Eastern              195          3         54%          1       $9,948,569        5           2.2         8
    3      Virginia Eastern            59          9         29%         11      $32,684,334        2           1.0         1
    4      Wisconsin Western           44         12         39%          5       $8,005,377        6           1.2         2
    5      New Jersey                  110         6         38%          6       $16,164,179       3           2.7         13
    6      Florida Middle              46         11         50%          2          $497,782       15          1.9         3
    7      Texas Southern              56         10         23%         14      $58,075,564        1           2.1         7
    8      California Northern        216          2         27%         12       $5,402,099        9           2.6         12
    9      Texas Northern              43         13         47%          3       $4,793,384        10          2.4         10
   10      Massachusetts               82          8         33%          7        $7,268,728       7           3.5         14
   11      Florida Southern            43         13         30%          8       $3,084,469        11          2.1         6
   12      New York Southern          140          5         29%          9        $2,217,004       13          2.5         11
   13      California Central          110         6         26%         13       $3,066,008        12          2.3         9
   14      Illinois Northern          154          4         21%         15       $6,086,198        8           3.7         15
   15      California Southern         41         15         29%         10       $1,953,464        14          1.9         4
           Overall (all              2,446                   33%                  $5,783,407                    2.4
           decisions identified)

The overall ranks for these courts are based on their relative ranking for each of the four measures, equally weighted.

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Across districts




TC Heartland: The end of “venue shopping” as we know it

On May 22, 2017, the Supreme Court released its decision in TC Heartland, ruling that
patent infringement cases can only be filed in the jurisdiction where the accused infringer
is incorporated.

What happened?

In January 2014, Kraft Foods Group accused Indiana-based TC Heartland of infringing
Kraft’s patents for low-calorie sweetener dispensers. Kraft filed the suit in Delaware, but
Heartland filed a motion to either dismiss the action or transfer venue to the Southern
District of Indiana (where Heartland is headquartered). Heartland argued that it had no
local presence in Delaware, and it does not actively seek business in Delaware. However,
evidence established that Heartland shipped orders of the accused products into
Delaware under contracts with two national accounts.

Both the Delaware District Court and the Federal Circuit rejected Heartland’s theory that
it did not “reside” in Delaware for venue purposes. They also rejected the contention that
the court in Delaware lacked specific personal jurisdiction, essentially affirming the long
standing interpretations of 28 U.S.C. §§ 1391 and 1400(b), which hinge on the defendant’s
residence in the district and/or that the defendant has committed acts of infringement in
the district (e.g., sold the alleged infringing product in the district).

On May 22, 2017, the Supreme Court released its unanimous decision, ruling that patent
infringement cases can only be filed in the jurisdiction where the accused infringer is
incorporated, effectively ending the practice of “venue shopping.”

What can we expect?

This profound reapportionment of new cases will have significant and long-lasting
consequences on the patent litigation landscape as we’ve come to know it, in terms of
patent holder litigation strategy and success measures.

In the wake of the Supreme Court’s decision, we expect to see even more patent cases
filed in Delaware, the leading state of incorporation for U.S. companies. The Eastern




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Across districts




District of Texas, which has become the favored choice of venue with almost 40% of
new cases filed there last year, will virtually disappear overnight as a destination for new
patent cases.

If historical trends for district courts prevail, we believe we will generally see patentee
success rates and median damages decline. The districts that will now attract more
litigation (e.g., Delaware, California, Illinois, New Jersey, New York) have historically shown
lower success rates than the Eastern District of Texas. Most of these districts, particularly
California, have demonstrated lower median damages. Still, the District Court of
Delaware, which almost certainly will widen its lead as the most popular venue for patent
litigation, ranks relatively highly in both patentee success rates and median damages.

Since NPEs and other patentees may be less likely to file infringement lawsuits in the
future, given less-attractive venue options, we will also likely see the total number of new
patent cases – already on a downswing since 2013 – continue to decline.




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Across districts




Cases with NPEs as patent holders are concentrated in a
few districts. Out of 94 total districts, the five with the most
identified decisions involving NPEs accounted for 46% of all such                                 NPEs continue
decisions—and the top ten districts accounted for 60%. The                                        to strongly favor
most active NPE districts remained consistent, indicating steady                                  the Eastern
concentration of NPE cases in certain courts.
                                                                                                  District of Texas,
But the data does not point to a clear correlation between                                        where NPE
number of identified NPE decisions in a district and relative NPE                                 success rates
success rates. Texas Eastern, with the most identified NPE cases
by far, also has one of the highest success rates—almost double
                                                                                                  almost double
the NPE average. Delaware, with the second-most identified NPE                                    the NPE average.
cases, has success rates in line with the NPE average. However,
the next three districts in NPE case counts yielded significantly
lower success rates than the NPE average.


Fig 19: District courts with most identified decisions with NPE as patent holder: 1997–2016


                                                          Decisions   Total identified NPE % of total     NPE success
 District
                                                       involving NPEs   decisions        decisions            rate

 Texas Eastern                                                 74                  195             38%       49%
 Delaware                                                      45                  285             16%       27%
 California Northern                                           44                  216             20%       14%
 Illinois Northern                                             42                  154             27%       12%
 New York Southern                                             31                  140             22%       16%
 California Central                                            24                  110             22%       29%
 Massachusetts                                                 14                  82              17%       36%
 Texas Northern                                                13                  43              30%       69%
 Texas Southern                                                12                  56              21%        8%
 Virginia Eastern                                              12                  59              20%       17%
 Florida Southern                                              11                  43              26%        9%
 Florida Middle                                                11                  46              24%       55%
 New Jersey                                                    10                  110             9%        30%
 All identified decisions                                     517                 2,446            21%       25%

Includes districts with at least 10 identified decisions involving an NPE as the patent holder.



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What becomes of patent cases
after appeal?

Our analysis of appellate outcomes in patent litigations from the
Federal Circuit captures district court decisions originally tried
between 2006 and 2014. This scope of research examined 526
cases from the district courts in those nine years. We selected
this period to ensure that the majority of cases appealed had
reached a conclusion at the Federal Circuit. We then researched
the appellate status of such cases through December 2016.

Three quarters of the cases we analyzed were appealed—with
more than half of the appeals having reached a conclusion in
the form of an opinion. This underscores the Federal Circuit’s
powerful impact on patent trial decisions.


Fig 20: Status of district court cases: 2006–2014 decisions
                                                                                    Be careful what
                                                          2%
                                                                                    you wish for:
                                                  17%           19%                 75% of decisions
                                                                                    are appealed—
    25%                      75%                                                    and more than
                                                                                    half of appeals
                                                                                    overturn one
                                                        62%
                                                                                    or more aspects
                                                                                    of the lower
            Not appealed                           Appeal pending
            Appealed                               Dismissed/Settled
                                                                                    court’s decision.
                                                   Opinion
                                                   Summary affirmance




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What becomes of patent cases after appeal?




Both winners and losers continue to appeal to the
Federal Circuit
                                                                                       Overall, 26%
Our study found that post-trial, the alleged infringer appeals                         of district
more often overall (29% individually) than the patent holder (21%
individually). Patent holders win more often at trial (66% trial win rate in
                                                                                       court
2006–2016), and thus have less reason to appeal than the losing party.                 cases
                                                                                       were appealed
The perspective of who won and who lost at trial gives a more
nuanced view of frequency of appeals by side.
                                                                                       by both parties.
  •	“Losers” Based on our data, losing patent holders appeal
    more often (43% individually) than losing alleged infringers
    (39% individually).

  •	“Winners” Ten percent of successful patent holders and eight
    percent of successful alleged infringers appeal individually.
    This demonstrates that even a favorable outcome at the
    district court can leave a party not fully satisfied—whether
    on issues involving the patent claims, product and territory
    coverage, damages awarded, pre-/post-judgment interest,
    enhanced damages, or permanent injunction.


Fig 21: Appeals after district court decisions: 2006–2014


                Overall     25%           26%            29%            21%



    Patent holder loss
      at district court
                             27%         21%       8%            43%



Patent holder success
       at district court
                            23%           28%               39%            10%


                                                        Not appealed
                                                        Both parties appealed
                                                        Alleged infringer appealed
                                                        Patent holder appealed

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What becomes of patent cases after appeal?




Appellate outcomes: a mixed bag

Our analysis shows that fewer than half of appealed patent                                      52%
infringement cases were affirmed, while 18% were entirely
reversed, vacated and/or remanded. And 34% of appeals yielded
mixed decisions, where some aspects of the appeal were
affirmed while others were reversed, remanded or vacated.

However, the likelihood of any given appeal outcome varies
according to which party won or lost the initial district court case.                           of appealed cases
                                                                                                are modiﬁed in
                                                                                                some regard


Fig 22: Appeal outcome by success of patent holder in district court: 2006–2014


                                                               4%
  21%                                                                     14%

               Affirmed
                                                         Reversed/
                                                                                                      Mixed                  7%
                                                          vacated/
                in total                                 remanded                                    decision*

28%                                                                                                                    27%
                                                                                          Patent holder loss at district court
                                                                                          Patent holder success at district court

(*) Mixed decisions are decisions in which the appeal was both affirmed in part and reversed, vacated or remanded in part.
    Percents add to greater than 100 due to rounding.




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What becomes of patent cases after appeal?




         Forensic Technology Solutions: Enabling faster, more efficient,
         more strategic case review

         For this year’s report, we departed from our traditional manual review method
         and used our technology team for help in redesigning our process. As a direct
         outcome, we have enhanced our research methodologies and workflows, which
         has proved to be significantly faster and more efficient.

         A successful patent litigation case requires significant research legwork in case
         retrieval, review and analysis, as is the case with this study. Broadly speaking,
         that workload can be divided into two segments:

            •	Structured data. Reviewing all patent litigation decisions, and extracting and
              filtering the basic data—judge, court, year, type, industry, subject matter—for
              relevant data points.

            •	Unstructured data. Zeroing in on and analyzing more nuanced information
              needed to inform a legal strategy.

         Traditionally for this study, both layers of review have had to be accomplished
         manually—not only a time-consuming task, but one prone to errors requiring
         many layers of review. This year we leveraged robust new technology tools that
         simplified and improved the quality, speed and accuracy of the review, saving
         time and money in the process.

         PwC’s document processing tools and techniques helped us extract metadata
         from judgments, index their content and categorize the judgments to streamline
         review, stratify them into multi-level review teams, and even create a custom
         content-extraction program to collect additional document metadata as needed.

         This technology also helped us to manage the review process—from first capture
         to comments from subsequent readers and reviewers—creating an audit trail,
         while enabling greater efficiency and transparency.

         Learn more about PwC’s Forensics Technology Solutions by visiting
         www.pwc.com/us/forensics




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Methodology                                                                 Want to know more?

                                                                            From the boardroom to the
                                                                            courtroom, success is often
To study the trends related to patent decisions, PwC                        predicated on the depth and
identified final decisions at summary judgment and trial                    credibility of your data, the
recorded in two Lexis Advance databases, US District                        power of your analytical work,
Court Cases and Jury Verdicts and Settlements, as                           and the ways both can inform a
well as in corresponding docket entries from LexisNexis                     winning legal strategy.
CourtLink.
                                                                            Access our insights at
The study identified 2,446 district court patent decisions                  www.pwc.com/us/forensics
issued since 1997. Some figures cited in this study have                    for more information:
been rounded, therefore totals may not equal the sum of
their components.                                                                           Securities Litigation
                                                                                            Study: A rising tide
Definitions for important terms used throughout the                                         or a rogue wave?
study are listed here:

  •	Cases decided at summary judgment include
    those district court patent infringement cases where
    a judge has issued a dispositive opinion regarding                                      Daubert
    invalidity and/or infringement at summary judgment.                                     Challenges to
  •	Cases decided at trial include those district court                                    Financial Experts
    patent infringement cases where a decision was
    rendered by a judge or jury after trial.

  •	Successes are instances where a liability decision
    was made in favor of the patent holder.                                                 Global Economic
                                                                                            Crime Survey:
  •	Time-to-trial is calculated from the complaint date
                                                                                            Adjusting the
    to the first day of either the bench or jury trial for
                                                                                            Lens on
    each case.
                                                                                            Economic Crime
  •	A nonpracticing entity (NPE) is an entity that does
     not have the capability to design, manufacture,
     or distribute products with features protected by                                             PwC’s CEO
     the patent.                                                                                   Survey: 20
  •	Median damages have been adjusted for inflation                                               years inside
    to 2016 US dollars.                                                                            the mind of
                                                                                                   the CEO…
                                                                                                   What’s next?


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irregularities. Our portfolio of services includes: financial crime examinations, forensic
technology solutions, regulatory compliance reviews, fraud risk management and fraud
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